                   THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              LUFKIN DIVISION

IN RE:
 BRADLEY C SMITH                               §   CASE NO.    21-90242
 xxx-xx-9750                                   §
 12526 N FM 95                                 §
 NACOGDOCHES, TX 75961                         §
                                               §   CHAPTER 13
                                               §
                                               §
                                               §
                                               §
DEBTOR




                 NOTICE OF 341 MEETING BY VIDEO HEARING

        PLEASE TAKE NOTICE that, in response to Centers for Disease Control
 advisements to take precautions regarding the COVID-19 virus (coronavirus) outbreak
 by limiting exposure to the virus, the Trustee will conduct the regularly scheduled 341
 meetings via video conference.

         The meeting will occur at the same date and time as previously noticed.

       Login information will be supplied to the Debtors through their attorney of record.
For any other party that intends to attend the meeting, please contact either the Debtors’
attorney or request the login information from the Trustee’s office at:

                      Email: docs@ch13tyler.com
                      Phone: (903) 593-7777

If you are represented by an attorney, please contact your attorney with any additional
questions. For any other issues, you may contact the Trustee’s office during normal
business hours.



                                      /s/Lloyd Kraus
                                     Lloyd Kraus, Chapter 13 Trustee, SBN 24066773
                                     110 N. College Ave Suite 1200
                                     Tyler, TX 75702
                                     (903) 593-7777; FAX (903) 597-1313
                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the 341Notice has been served
upon the following parties in interest and to the attached mailing matrix by mailing a
copy of same to them via first class mail or electronically on 1/14/2022:


       W DAVID STEPHENS
       P O BOX 444
       LUFKIN, TX 759020000

       BRADLEY C SMITH
       12526 N FM 95
       NACOGDOCHES, TX 75961




                                             /s/ Lloyd Kraus
                                             Lloyd Kraus, Chapter 13 Trustee
                                             SBN 24066773
                                             Office of the Standing Chapter 13 Trustee
                                             110 N. College Avenue, Suite 1200
                                             Tyler, TX 75702
                                             (903)593-7777, Fax (903) 597-1313
